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After Bitcoin Auction, Winning Bidders Remain Elusive - NYTimes.com




                        DEALBOOK                                      SINOSPHERE BLOG
                        Citigroup and U.S. Reach                      Samsung Contractor                      Samsung Considers Its                     VW to Add S.U.V.                              A Warhol With Yo
                        $7 Billion Mortgage                           Suspended Over Child                    Counterattack as Rivals                   Production to                                 Moose Head? Soth
                        Settlement                                    Labor Allegations                       Erode Cellphone Profit                    Chattanooga Plant                             Teams With EBay




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                             MERGERS & ACQUISITIONS         INVESTMENT BANKING          PRIVATE EQUITY   HEDGE FUNDS      I.P.O./OFFERINGS     VENTURE CAPITAL         LEGAL/REGULATORY




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                             After Bitcoin Auction, Winning Bidders




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                             By SYDNEY EMBER JUNE 30, 2014 6:59 PM
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                                                   Since Friday, when the United States Marshals Service auctioned
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                                                   off nearly 30,000 Bitcoins, investors and Bitcoin enthusiasts alike
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                                     FACEBOOK
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                                                   have been eagerly awaiting the results. As the agency began
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                                     TWITTER
                                                   notifying winning and losing participants late on Monday
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                                     SAVE          afternoon, many in the Bitcoin world were still trying to figure out
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                                                   who won and the what they paid.
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                                                   Some prominent bidders were left scratching their heads. “The
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                                                   U.S. government auction created a tremendous amount of new
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                                                   demand for Bitcoin,” said Dan Morehead, who bid through Pantera
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                                                   Bitcoin, largely considered a front-runner in the auction. “Most of
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                                                   the people we spoke to were new entrants to the Bitcoin market.”
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                                                   He added: “None of our bids were hit. I think it went at quite a
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                                                   high price.”                                                                              In the News
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                                                                                                                                                     WALL STREET EARNINGS
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                                                   Barry Silbert, who runs a Bitcoin investment fund through his firm                                Mortgage Settlement Charge Mars
                                                   SecondMarket, said on Twitter that his syndicate, which received                                  Strong Quarter for Citigroup 3
                                                             pr oc




                                                   186 bids from 42 bidders, had been outbid on all blocks.                                          LEGAL/REGULATORY
                                                                                                                                                     Citigroup and U.S. Reach $7 Billion
                                                                                                                                                     Mortgage Settlement 73
                                                           re d




                                                   The United States Marshals Service, with help from the F.B.I. and
                                                   federal prosecutors in Manhattan, arranged the online auction for                                 LEGAL/REGULATORY
                                                         er his




                                                                                                                                                     Companies That Offer Help With
                                                   29,656 of the Bitcoins seized from the now-defunct market Silk                                    Student Loans Are Often Predatory,
                                                   Road. The site was shut in October and has been accused of aiding                                 Officials Say 72
                                                      rth T




                                                   the sale of illegal goods and services.                                                   MERGERS & ACQUISITIONS

http://dealbook.nytimes.com/2014/06/30/after-bitcoin-auction-winning-bidders-remain-elusive/?_php=true&_type=blogs&_php=true&_type=blogs&_r=1[7/14/2014 11:38:15 AM]
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                                                                                                                                           Lindt Nears a Deal to Buy Russell Stover
                                                   Bidders had a 12-hour window on Friday to submit one sealed bid                         Candies 1
                                                   for the coins, which had been broken up into lots of 3,000.                                       LEGAL/REGULATORY
                                                                                                                                                     From Benghazi to the Boardroom:
                                                   The Marshals Service said on Monday that 45 registered bidders                                    The Road to the $7 Billion Citigroup
                                                                                                                                                     Settlement 85
                                                   participated in the event, and that the agency received 63 bids over
                                                                                                                                                     RESTRUCTURING & BANKRUPTCY
                                                   the course of the auction. Beyond that, the agency has said from
                                                                                                                                                     Federal Judge Rules That Detroit Is
                                                   the beginning of the auction process that it will not reveal the                                  Entitled to Revenue From Casinos
                                                   names of the winning bidders or the amount of the winning bids.                                   2




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                                                                                                                                                     DEAL PROFESSOR
                                                   The Marshals Service declined to comment further on Monday


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                                                                                                                                                     With Merger, Tobacco Takes On
                                                   because the award process was ongoing.                                                            Technology 19




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                                                   Still, some names of bidders have trickled out, including Coinbase,                               Reynolds in Talks to Acquire

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                                                   a Bitcoin payment processor; Rangeley Capital, a value investment                                 Lorillard in Merger of Tobacco
                                                                                                        7                                            Rivals 52




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                                                   fund; and Alex Waters, the chief executive and co-founder of




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                                                   CoinApex, a Bitcoin-focused start-up.
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                                                   Even as the names of those who submitted bids became public,




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                                                                                                                                           AbbVie and Shire in Talks Over $53 Billion Merger
                                                   most bidders remained largely tight-lipped about their bids. Chris
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                                                   DeMuth Jr., a partner at Rangeley Capital, said he had bid below                        Citigroup and U.S. Reach $7 Billion Mortgage
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                                                   the market price, but, like most participants thus far, would not
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                                                                                                                                           Morning Agenda: Citigroup in $7 Billion Settlement
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                                                   comment on his exact bid.
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                                                                                                                                           Swiss Chocolate Maker Lindt Will Buy Russell Stover
                                                                                                                                           Candies
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                                                   “It’s more about the process and the potential for the price than it
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                                                                                                                                           Mortgage Settlement Charge Mars Strong Quarter for
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                                                   is about anything intrinsic to the Bitcoins,” Mr. DeMuth said. He                       Citigroup
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                                                   said he was outbid.
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                                                   As of Monday evening, DealBook had not yet determined the
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                                                   winner or winners of the auction.
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                                                   Since the auction closed, the price of Bitcoin has climbed to about
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                                                   $639 as of Monday evening, up from about $570 when the auction
                                                                uc e




                                                   began, according to CoinDesk. But experts were divided on
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                                                   whether the rise in price provided any indication about the bids.
                                                                                                                                             Big tobacco getting bigger: A brief
                                                   After the auction closed, some bidders were in communication
                                                            pr oc




                                                                                                                                             history of deal making
                                                   with each other, and a jump in price could indicate that they were                          Why you should tip more than you do now
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                                                   driving up the price, said Gil Luria, an analyst with Wedbush                               Despite exposure of Madoff fraud, new Ponzi
                                                   Securities who has studied Bitcoin. Bidders “probably have more                             schemes emerge
                                                        er his




                                                   information than the market does, and that could explain why the
                                                   market is up,” he said. The price fluctuation is also within the
                                                     rth T




                                                   normal range for Bitcoin, he added.

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                                                   The increase in price could also have been a red herring, said
                                                   Steven Englander, a research analyst with Citigroup. “People who
                                                   bid and who are successful in their bidding obviously would like
                                                   the market to think that the price was high rather than low,” he
                                                   said.

                                                   Mr. Waters of CoinApex, who bid as an individual, appeared to
                                                   send his bid using his cellphone while live on Bloomberg




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                                                   Television on Friday, but later confessed in an interview that he




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                                                   had forgotten to attach the bidding form to his email. He




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                                                   submitted his bid for one block of Bitcoins, at a price of $403 each,
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                                                   later on Friday afternoon. He, too, did not win.




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                                                   “I was anticipating a lot of the other bidders getting disqualified




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                                                   because it seemed to me that the Marshals Service didn’t want




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                                                   syndicates bidding,” Mr. Waters said, referring to the agency’s
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                                                   intense screening process. “It was sort of just a fun thing. I took a
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                                                   gamble.”
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